Case 4:21-cv-01074-P Document 128 Filed 12/07/21         Page 1 of 2 PageID 4272



                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                                 No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                                    ORDER
       Before the Court is Plaintiffs’ Motion for Stay of District Court
    Proceedings (“Motion”), filed December 6, 2021. ECF No. 123. Having
    considered the arguments of counsel, the Court concludes that the
    Motion will be GRANTED in part.

       Plaintiffs’ Motion requests that “the Court stay all pending district
    court deadlines until 21 days after the Fifth Circuit resolves Plaintiffs’
    pending appeal.” Id. at 3. The Court concludes that staying proceedings
    during appeal will promote judicial economy, especially as a decision
    from the Fifth Circuit may impact future proceedings before the Court.

         Defendant’s response persuasively argues, however, that Plaintiffs
    should be required to complete the briefing on their pending motion for
    class certification. ECF No. 126 at 4. Specifically, Defendant argues that
    if the Court were to grant the stay at this point in the proceedings,
    Plaintiffs would effectively receive an indefinite extension of time to file
    their reply brief. Id. To avoid this outcome, Plaintiffs will be required to
    file their reply in support of their Motion to Certify CPlass per the
    existing deadlines. See ECF No. 101. All other deadlines will be stayed.

       The Motion for Stay of District Court Proceedings is accordingly
    GRANTED in part. Plaintiffs must timely file their reply in support of
    their Motion to Certify Class (ECF No. 101) in accordance with the
    existing deadline; all other deadlines in this proceeding are STAYED
    pending resolution of the ongoing appeal.
Case 4:21-cv-01074-P Document 128 Filed 12/07/21   Page 2 of 2 PageID 4273



       SO ORDERED on this 7th day of December, 2021.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE




                                    2
